Case 2:04-cr-20329-.]DB Document 24 Filed 04/19/05 Page 1 of 2 Page|D 32

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IN THE UNITED sTATEs DISTRICT coURT ‘@UC"»
FOR THE wEsTERN DISTRICT oF TENNESSEE m
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CU:*H‘r<. ‘ ss ' '~T_
W..D GF Tr\;, wsv§z=azs
UNITED STATES OF AMERICA,

Plaintiff,
VS. CR. NO. 04-20329-Ol-B

Rickey Robertson, Jr.,

_ _‘..`»-._/-.._,-_/-_»-_¢~_-~.-

Defendant.

 

0RDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to he heard on April 19, 2005, the United States Attorney
for this district, Scott Leary, appearing for the Government and the defendant,
Rickey Robertson, Jr., appearing in person and with Counsel, Leslie Ballin, who
represented the defendant.

With, leave of the Court the defendant withdrew the not guilty' plea
heretofore entered and entered a plea of guilty to Count l of the Indictment

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, AUGUST 2, 2005, at
1:30, in Courtroom No. l, on the 11th floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

ENTERED this the lcz day of April, 2005.

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J. DANIEL\&P.EEN
TE sTATEs DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 24 in
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Leslie I. Ballin

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Honorable J. Breen
US DISTRICT COURT

